AFFIDAVIT OF SERVICE THROUGH THE SECRETARY OF STATE

UNITED STATES DISTRICT COURT Purchased/Filed: October 13, 2020
FOR THE EASTERN DISTRICT OF NEW YORK Index # 1:20-cv-04178-LDH-
LB
Hitler Calle, Individually and On Behalf of Other Similarly Situated Plaintiff
against
Pizza Palace Cafe, LLC d/b/a Palace Cafe., et al Defendant

STATE OF NEW YORK $s:
COUNTY OF ALBANY .

James Perone , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; that on October 16, 2020 ,at 11:00AM , at the office of the

Secretary of State of the State of New York in the City of Albany, New York deponent served the annexed

Summons in a Civil Action and Complaint Collective Action Under 29 U.S.C §216(b)
on

Pizza Palace Cafe LLC d/b/a Palace Cafe , the

Defendant in this action, by delivering to and leaving with Sue Zouky \

AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the Office of
the Secretary of State of the State of New York, 99 Washington Avenue, Albany, NY, 2 true copies thereof and that
at the time of making such service, deponent paid said Secretary of State a fee 40 dollars: That said service was
made pursuant to Section 303 Limited Liability Company Law. Deponent further says that deponent knew the
person so served as aforesaid to be the agent in the Office oF the Secretary of State oft State of New York, duly

ehalf of said defendant

authorized to accept such service

55-60

Description of taé person served: Approx. Age: Approx. Wt 125lbs Approx. Ht: 5'1

Red/Bionde

Color of skin: = White Hair color: x:

Female Other:

oe

Sworn tto before me on this

16th of October 2020

SCSTLSEHUSTER
NOTARY PUBLIC, STATE OF NEW YORK James Perone
NO. 01SC6308636
QUALIFIED IN ALBANY COUNTY Attny's File No.

COMMISSION EXPIRES JULY 28, 2022
Invoice*Work Order # S1847495

Servico. Inc.. RO. Box 871, AtBany. NY 122017
